                                                                                                                         1    Michelle DeLappe, AKBA # 1602004
                                                                                                                              GARVEY SCHUBERT BARER, P.C.
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                                                                                                                         5
                                                                                                                              Attorneys for Plaintiffs
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                                                                                                                         7                                 UNITED STATES DISTRICT COURT
                                                                                                                         8                        FOR THE DISTRICT OF ALASKA AT ANCHORAGE
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                                                                                                                        10    CP SALMON CORPORATION et al.,
                                                                                                                                                                                  Case No. 3:17-cv-00262-TMB
                                                                                                                        11                       Plaintiffs,
                                                                                                                                                                                  NOTICE OF VOLUNTARY DISMISSAL
                                                                                                                        12           v.                                           WITHOUT PREJUDICE
                                                                                                                        13    WILBUR ROSS, JR., Secretary of Commerce             Clerk’s Action Required
                                                                                                                              for the United States; NATIONAL OCEANIC
                                                                                                                        14
                                                                                                                              AND ATMOSPHERIC ADMINISTRATION;
                                                                                                                        15    and NATIONAL MARINE FISHERIES
                                                                                                                              SERVICE,
                                                                                                                        16
                                                                                                                                                 Defendants.
                                                                                                                        17
                                                                                                                        18          Plaintiffs, by and through their attorneys, hereby give notice of voluntary dismissal of this
                                                                                                                        19
                                                                                                                             action without prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i). Dismissal without a court
                                                                                                                        20
                                                                                                                             order is appropriate under FRCP 41(a)(1)(A)(i) because Defendants have not served an answer or
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GARVEY SCHUBERT BARER, P.C.




                                                                                                                             a motion for summary judgment.
                                                                      Seattle, Washington 98101-2939




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                                                 1191 Second Avenue




                                                                                                                                    DATED this 13th day of February, 2019.
                              Eighteenth Floor



                                                                                                       (206) 464-3939




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                                                                                                                        24                                                        s/ Michelle DeLappe
                                                                                                                                                                                Michelle DeLappe, AKBA #1602004
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                                                                                                                               NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                        Page 1 of 2
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                                                                                                                               Case 3:17-cv-00262-TMB Document 15 Filed 02/13/19 Page 1 of 2
                                                                                                                         1                                   CERTIFICATE OF SERVICE

                                                                                                                         2          I hereby certify that on February 13, 2019, I caused to be electronically filed the foregoing

                                                                                                                         3   NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE with the Clerk of the Court

                                                                                                                         4   using the CM/ECF system which causes parties who are registered ECF participants to be served

                                                                                                                         5   by electronic means.

                                                                                                                         6          Dated this 13th day of February, 2019, at Seattle, Washington.

                                                                                                                         7                                                GARVEY SCHUBERT BARER, P.C.

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                                                                                                                         9                                                By: s/Bonnie Rakes
                                                                                                                        10                                                Bonnie Rakes

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GARVEY SCHUBERT BARER, P.C.


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                                                                                                                               NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                        Page 2 of 2
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